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                                  UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF PUERTO RICO

 MARIA SUAREZ-TORRES; minor A.V.R.;
 WIDALLYS RIVERA-QUINONES on behalf of her
 minor child A.V.R.,                                       Civil No. 16-1856 (DRD)

                 Plaintiff(s),

 v.

 LUIS PIZZA PALACE; RLR FOOD SERVICE,
 INC.; RIGOBERTO LOPEZ RAMOS; DIANA
 MARIA COLON ORTIZ,

                 Defendant(s).

                                              JUDGMENT

        Based upon the plaintiffs’ Motion for Voluntary Dismissal With Prejudice, Docket No. 10, and the

Order entered on September 9, 2016, Docket No. 11, plaintiffs, Maria Suarez-Torres, minor A.V.R., and

Widallys Rivera-Quinones are voluntarily dismissing with prejudice their claims in the instant case against

the following co-defendants, Luis Pizza Palace; RLR Food Service, Inc., and Diana Maria Colon Ortiz.

        In view of the above, and there being no pending claims, this case is now dismissed with prejudice.

        This case is now closed for all administrative and statistical purposes.

        IT IS SO ORDERED, ADJUDGED AND DECREED.

        In San Juan, Puerto Rico, this 9th day of September, 2016.

                                                                      s/Daniel R. Domínguez
                                                                     DANIEL R. DOMINGUEZ
                                                                     United States District Judge
